                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

In re:
                                                     Chapter 7
Joseph G. DuMouchelle and Melinda
J. Adducci                                           Case No. 19-54531

                                                     Honorable Lisa Gretchko
          Debtors.
____________________________________/

Teodor Gelov

              Plaintiff,

v.

Joseph G. DuMouchelle and Melinda                    Adversary Pro. No. 20-04172
J. Adducci

     Defendants.
____________________________________/

           ORDER GRANTING IN PART AND DENYING IN PART
           DEFENDANTS’ MOTION FOR A PROTECTIVE ORDER

         THIS MATTER came before the Court upon the Defendants’ Motion for

Entry of a Protective Order (“Motion”; ECF No. 132) and the Plaintiff’s objection

to the Motion (“Objection”; ECF No. 149). On June 23, 2023, the Court held a

hearing (“Hearing”) on the Motion and the Objection; counsel for Plaintiff and

counsel for Defendants appeared at the Hearing. The Court has reviewed the Motion,




  20-04172-lsg    Doc 156   Filed 07/05/23   Entered 07/05/23 12:13:39   Page 1 of 2
the Objection and other pertinent pleadings, has considered statements made at the

Hearing, and is advised in the premises.

      NOW THEREFORE, IT IS HEREBY ORDERED that the Motion is

DENIED as to Interrogatory No. 8 and 9 and Request to Produce No. 7 of Plaintiff’s

Discovery Request (“Discovery Request,” ECF No. 126) and Defendants shall

comply in all respects with the Parties Report of 26(f) Conference (ECF No. 112) in

response to Plaintiff’s Discovery Request.

      IT IS FURTHER ORDERED that the Motion is GRANTED as to

Interrogatory No. 14 of Plaintiff’s Discovery Request.




Signed on July 5, 2023




 20-04172-lsg     Doc 156   Filed 07/05/23   Entered 07/05/23 12:13:39   Page 2 of 2
